             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                    BRYSON CITY DIVISION
            CRIMINAL CASE NO. 2:13-cr-00002-MR-DLH


UNITED STATES OF AMERICA,       )
                                )
                                )
                    vs.         )              ORDER
                                )
                                )
(1) EUDINE TRENAE WILSON; and   )
(2) MARIE LUZINSKI RAYMOND.     )
_______________________________ )

     THIS MATTER is before the Court on Defendant Eudine Trenae

Wilson’s Motion for Continuance [Doc. 88] and Defendant Marie Luzinski

Raymond’s Motion for Joinder in Defendant Wilson’s Motion to Continue

Docket Call [Doc. 89].

     On February 20, 2013, the Defendants were charged in a Bill of

Indictment with conspiracy to possess with intent to distribute a Schedule II

controlled substance in violation of 21 U.S.C. § 841(a)(1) and with

possession with intent to distribute oxycodone in violation of 21 U.S.C. §

841(a)(1). [Doc. 5]. Following their arraignments, the Defendants were

placed on the March 25, 2013 calendar for trial. The Court subsequently

continued the case to the May 28, 2013 trial term. [Docs. 15, 19]. On April

1, 2013, the Court granted Defendants Wilson and Raymond an extension



    Case 2:13-cr-00002-MR-DLH   Document 90    Filed 11/21/13   Page 1 of 4
of time, until April 22, 2013, within which to file pretrial motions. [Docs. 31,

32]. On April 22, 2013, Defendants Wilson and Raymond each filed a

motion to suppress.     [Docs. 39, 42].     Thereafter, Defendant Raymond

moved for a continuance of the trial date, which was granted. [Doc. 43].

The case was continued to the August 12, 2013 trial term.

      The Magistrate Judge heard the Defendants’ suppression motions

over the course of three days in June 2013. In July 2013, the Defendants

moved to continue the trial date on the basis that the Magistrate Judge still

had the suppression motions under advisement. The Court granted the

Defendants’ motions and continued the trial to the September 23, 2013 trial

term. [Doc. 58].

      The Defendants then moved for another continuance of the trial,

which the Government did not oppose. [Docs. 65, 66]. On September 6,

2013, the Court granted the Defendants’ motion and continued this matter

to its present setting during the December 2, 2013 trial term. [Doc. 69].

      On September 25, 2013, the Magistrate Judge filed a Memorandum

and Recommendation on the motions to suppress. [Doc. 85]. Objections

were filed in October 2013 and are currently under advisement with the

Court. [See Docs. 85, 86]. The Defendants now seek another continuance




                                       2

    Case 2:13-cr-00002-MR-DLH     Document 90    Filed 11/21/13   Page 2 of 4
of the trial.   [Docs. 88, 89].    The Government does not oppose the

Defendants’ request for a continuance.

      The Court finds that this case should be continued. The Speedy Trial

Act excludes from the time within which a defendant must be brought to

trial “[a]ny period of delay . . . resulting from any pretrial motion, from the

filing of the motion through the conclusion of the hearing on, or other

prompt disposition of, such motion.”      18 U.S.C. § 3161(h)(1)(D).           The

Speedy Trial Act further excludes any “delay reasonably attributable to any

period, not to exceed thirty days, during which any proceeding concerning

the defendant is under advisement by the court.”                 18 U.S.C. §

3161(h)(1)(H). As noted above, the Magistrate Judge’s Memorandum and

Recommendation on the Defendants’ suppression motions is currently

under advisement by the Court. It is unlikely that the Court can rule on the

parties’ objections to the Memorandum and Recommendation sufficiently in

advance of the December 2, 2013 trial term in order to allow the parties an

adequate opportunity to prepare for trial in light of the Court’s ruling. Under

these circumstances, the Court finds that a failure to continue the case

would result in a miscarriage of justice. See 18 U.S.C. § 3161(h)(7)(B)(i).




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    Case 2:13-cr-00002-MR-DLH     Document 90   Filed 11/21/13   Page 3 of 4
     For the reasons stated herein, the ends of justice served by the

granting of the continuance outweigh the best interests of the public and

the Defendants in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A).

     Accordingly, IT IS, THEREFORE, ORDERED that Defendant Eudine

Trenae Wilson’s Motion for Continuance [Doc. 88] and Defendant Marie

Luzinski Raymond’s Motion for Joinder in Defendant Wilson’s Motion to

Continue Docket Call [Doc. 89] are GRANTED, and this case is hereby

CONTINUED from the December 2, 2013 term in the Bryson City Division.

     IT IS SO ORDERED.             Signed: November 20, 2013




                                    4

    Case 2:13-cr-00002-MR-DLH   Document 90       Filed 11/21/13   Page 4 of 4
